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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

ANA HENRIQUEZ,                §
                              §
           Plaintiff,         §
                              §
V.                            §                   No. 3:16-cv-868-M-BN
                              §
CITY OF FARMERS BRANCH, TEXAS §
and KEN D. JOHNSON,           §
                              §
           Defendants.        §

 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
           OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed. The District Court reviewed

the proposed Findings, Conclusions, and Recommendation for plain error. Finding

none, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge.

      The Court therefore GRANTS the motion to reopen this case [Dkt. No. 36].

      SO ORDERED this 29th day of September, 2021.
